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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 K.K.                                       :
                                            :
                                            :
        Plaintiff,                          :       C.A. No. 14-218
                                            :
        v.                                  :
                                            :
 NORTH ALLEGHENY                            :       JUDGE JOY FLOWERS CONTI
 SCHOOL DISTRICT                            :
                                            :
                                            :
        Defendant.                          :

                        PLAINTIFF’S RESPONSE TO DEENDANT’S
                          MOTION FOR SUMMARY JUDGMENT

        AND NOW, comes the Plaintiff, K.K., by and through her Attorney, Jeffrey J. Ruder, Esq.,

and files the following Response to Defendant’s Motion for Summary Judgment.

        1.      Paragraph 1 is admitted.

        2.      Paragraph 2 is admitted.

        3.      Paragraph 3 is admitted.

        4.      Paragraph 4 is admitted.

        5.      Paragraph 5 is admitted.

        6.      Paragraph 6 is admitted.

        7.      Paragraph 7 is admitted.

        8.      Paragraph 8 is admitted.

        9.      Paragraph 9 is admitted.

        10.     Paragraph 10 is admitted.

        11.     Paragraph 11 is admitted.

        12.     Paragraph 12 is admitted.

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13.   Paragraph 13 is admitted.

14.   Paragraph 14 is admitted.

15.   Paragraph 15 is admitted.

16.   Paragraph 16 is admitted.

17.   Paragraph 17 is admitted.

18.   Paragraph 18 is admitted.

19.   Paragraph 19 is admitted.

20.   Paragraph 20 is admitted.

21.   Paragraph 21 is admitted.

22.   Paragraph 22 is admitted.

23.   Paragraph 23 is admitted.

24.   Paragraph 24 is admitted.

25.   Paragraph 25 is admitted. By way of further response, while Title II of the ADA

      applies to public entities, Section 504 of the Rehabilitation Act applies to recipients

      of federal funds. 20 U.S.C. § 794.

26.   Paragraph 26 is admitted.

27.   Paragraph 27 contains a conclusion of law to which no response is required. To the

      extent that a response is deemed necessary, Plaintiff incorporates by reference

      herein her Memorandum of Law in Support of Plaintiff’s Motion for Summary

      Judgment and her Concise Statement of Material Facts, demonstrating that she is

      entitled to summary judgment in her favor as a matter of law under Section 504,

      Title II of the ADA and Chapter 15 of the Pennsylvania Code.




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      28.    Paragraph 28 contains a conclusion of law to which no response is required. To the

             extent that a response is deemed necessary, this paragraph is denied.

      29.    Paragraph 29 contains a conclusion of law to which no response is required. To the

             extent that a response is deemed necessary, this paragraph is denied.

      30.    Paragraph 30 is neither admitted nor denied. By way of further response, there is

             nothing in the record to support this statement. Even if this were true, it is irrelevant

             to Plaintiff’s claims.

      31.    Paragraph 31 is neither admitted nor denied. By way of further response, there is

             nothing in the record to support this statement. Even if this were true, it is irrelevant

             to Plaintiff’s claims.

      32.    Paragraph 32 contains a conclusion of law to which no response is required. To the

             extent that a response is deemed necessary, this paragraph is denied.

      33.    Paragraph 33 contains a conclusion of law to which no response is required. To the

             extent that a response is deemed necessary, this paragraph is denied. By way of

             further response, K.K. asserts that she was denied transportation services in

             violation of Section 504, Title II of the ADA and Chapter 15 when the District

             failed to provide a reasonable modification to its transportation policy, which K.K.

             needed on account of S.K.’s disability.



                                      CONCLUSION

      WHEREFORE, for all of the foregoing reasons, Plaintiff prays this Honorable Court deny

Defendant’s Motion for Summary Judgment.




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                             Respectfully Submitted,

                             _/s/ Jeffrey J. Ruder_____
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                             Attorney for Plaintiffs

Date: November 2, 2016




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